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    'AO 245B       (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 1


                                              UNITED STATES DISTRICT COURT                                                          ;:;         25 Ph        25
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       AMENDED JUDGMENT INACRIMINAL CASE
                                        v.                                          (For Offenses Committed On or Afte{.}'~ove~ber I,1987)tYp

                         CARLOS CUEVAS JR. (3)                                      Case Number: 07CR0449-WQH
                                                                                    KURT HERMANSEN, RET
                                                                                    Defendant's Attomey
    REGISTRA TION NO. 02603298
    ~      (Fed. R. Crim. P. 35); Previously Imposed Sentence is Hcrcby Set Aside and Vacated
    THE DEFENDANT:
    ~ pleaded guilty to count(s)              Is-2s OF THE SUPERSEDING INFORMATION

    D was found gUilty on count(s)
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                Count
    Title & Section                          Nature of Offense                                                                                 Number(s)
21 USC 848 (a)                         CONTINUING CRIMINAL ENTERPRISE                                                                               Is
18 USC 1956 (a)(2)(A)                  CONSPIRACY TO LAUNDER MONETARY INSTRUMENTS                                                                   2s
18 USC 1956 (h)




               The def~ndant is sentenced as provided in pages 2 through                 4        ofthis judgment. The sentence is imposed pursuant
        to the Sentencmg Reform Act of 1984.
   D The defendant has been found not guilty on count(s)
   ~Count(s)         Underlying indictment                                         is   0    areD dismissed on the motion of the United States.
   ~ Assessment: $200.00 (CT Is:$lOO.OO/CT 2s:$I00.00)

   ~ Fine waived                                      0 Property forfeited pursuant to order filed                                        included herein.
              IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
        or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
        defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                        FEBRUARY 23, 2009




                                                                                    HON. WILLIAM Q. HAYES
                                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                                                 07CR0449-WQH
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AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 Imprisonment

                                                                                               Judgment   Page     2    of        4
DEFENDANT: CARLOS CUEVAS JR. (3)
CASE NUMBER: 07CR0449-WQH
                                                             IMPRISONMENT

          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          CT Is: 138 months; CT 2s: 138 months to run concurrently with count Is.



    ~ The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be designated to a facility in the Western Region/as close to the Southern California area or
          Arizona as possible.



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     [}l.m.    []p.m.     on
               as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before -------------------------------------------------------------
           D as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL

                                                                       By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                       07CR0449-WQH
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A0245D        (Rev. 12/03) Judgment in a Criminal Case for Revocations
              Sheet 3 ...... Supervised Release
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DEFENDANT: CARLOS CUEVAS JR. (3)                                                                 II
CASE NUMBER: 07CR0449-WQH
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of;
CT Is: 5 years; CT 2s; 3 years to run concurrently with count Is.


         The defendant shall report to the probation office in the district to which thc defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
~       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

~       The defendant shall cooperate in the collection of DNA as directed by the probation officer pursuant to 18 USC 3583(d).

D The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencemcnt of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION

  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                07CR0449-WQH
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        DEFENDANT: CARLOS CUEVAS JR. (3)                                                             II
        CASE NUMBER: 07CR0449-WQH




                                              SPECIAL CONDITIONS OF SUPERVISION

~ Submit to a search of person, property, residence, abode or vehicle, at a reasonable time and in a reasonable manner, by the probation officer.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion, or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
~ Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may
    be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on
    the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the
    probation officer, if directed.
o   Participate in a mental health treatment program as directed by the probation office.
~   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval
    of the probation officer.
o   Seek and maintain full time employment and/or schooling or a combination of both.
~   Resolve all outstanding warrants within 60 days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o   Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
    commencing upon release from imprisonment.
o   Remain in your place of residence for a period of                      , except while working at verifiable employment,
    attending religious services or undergoing medical treatment.
o   Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.
o   Comply with the conditions of the Home Confmement Program for a period of                              months and
    remain at your residence except for activities or employment as approved by the court or probation officer. Wear an electronic
    monitoring device and follow procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a
    portion if deemed appropriate by the probation officer.
~ Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
    The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
    on the defendant's ability to pay.


                                                                                                                               07CR0449-WQH
